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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           (Billings Division)

PAUL CARAWAY,                                 Cause No. CV-16-139-BLG-TJC

                          Plaintiff,          ORDER GRANTING LEAVE TO
                                              FILE THIRD AMENDED
vs.                                           COMPLAINT

TOWN OF COLUMBUS, GARY
WOLTERMANN and WILLIAM
PRONOVOST, individually and as
agents.

                    Defendants.
_______________________________/

      The motion of Plaintiff, having come on regularly before me, and good cause

appearing, therefor,

      IT IS HEREBY ORDERED that Plaintiff be permitted to file the attached

Third Amended Complaint.

      IT IS FURTHER ORDERED that Defendants will be granted ____ days in

which to file their amended answer thereto.



DATED:                                  By:    _____________________________
                                               HON. TIMOTHY J. CAVAN
                                               U.S. Magistrate Judge


ORDER GRANTING LEAVE TO FILE THIRD AMENDED COMPLAINT                        1
